
VIOSCA, Justice ad hoc.
This case was submitted to the Supreme-Court on June 11, 1956, on a Motion to Dismiss the Appeal, filed by one of the defendants, Garland McManus, d/b/a Mercury Transfer and Storage Company. He alleged that the appeal had not been, filed' in accordance with the mandate of the-Court of Appeal, First Circuit, transferring the Appeal to this Court. No appearance was made nor brief filed by plaintiffs-appellants.
On the following day, June 12, 1956, a joint Motion to Dismiss was filed in this. Court by all plaintiffs .and defendants.
Therefore, the Appeal is dismissed as of June 12, 1956.
